      Case 5:20-cv-00746-JKP-HJB Document 100 Filed 08/18/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 MELODY JOY CANTU and                          §
 DR. RODRIGO CANTU,                            §
 Plaintiffs                                    §
                                               §
                                               § CASE NO 5:20-CV-00746-JKP (HJB)
                                               §
 V.                                            §
                                               §
 DR. SANDRA GUERRA and                         §
 DIGITAL FORENSICS CORPORATION,                §
 LLC                                           §
 Defendants                                    § JURY DEMANDED


  JOINT ADVISORY TO THE COURT REGARDING DEFENDANT, DR. GUERRA’S
        SUBPOENA OF PLAINTIFFS’ MEDICAL AND BILLING RECORDS

       Pursuant to paragraph 1 of the Court’s Order [Doc. 98], Plaintiffs, MELODY JOY CANTU

and DR. RODRIGO CANTU (collectively, “Plaintiffs”), and Defendant, DR. SANDRA

GUERRA (“Dr. Guerra”), file this Advisory to the Court:

       1.     The parties have conferred on Dr. Guerra’s subpoenas of Plaintiffs’ medical and

billing records which are the subject of Plaintiffs’ Motion to Quash Subpoenas for Medical

Records [Doc. 90] and Defendant, Dr. Guerra’s Response thereto [Doc. 93].

       2.     No resolution has been reached by the parties.




JOINT ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT                                PAGE 1 OF 3
     Case 5:20-cv-00746-JKP-HJB Document 100 Filed 08/18/22 Page 2 of 3




Date: August 18, 2022.             Respectfully submitted,

                                   TOR EKELAND LAW, PLLC
                                   30 Wall Street, 8th Floor
                                   New York, NY
                                   Telephone: (718) 737 - 7264
                                   Facsimile: (718) 504 - 5417


                                   By:    /s/Tor Ekeland           __________
                                          TOR EKELAND
                                          NY Bar No. 4493631
                                          Pro Hac Vice
                                          tor@torekeland.com

                                   and

                                   MINNS LAW FIRM, P.C.
                                   D/B/A RAIN MINNS LAW FIRM
                                   4412 Spicewood Springs Rd., Suite 500
                                   Austin, Texas 78759-8583
                                   Telephone: (512) 372-3222
                                   Facsimile: (512) 861-2403

                                   By:    /s/Rain Levy Minns           __________
                                          RAIN LEVY MINNS
                                          Texas State Bar No. 24034581
                                          rain@rainminnslaw.com

                                   COUNSEL FOR PLAINTIFFS/COUNTER-
                                   DEFENDANTS, MELODY JOY CANTU AND
                                   DR. RODRIGO CANTU




JOINT ADVISORY TO THE COURT                                                PAGE 2 OF 3
      Case 5:20-cv-00746-JKP-HJB Document 100 Filed 08/18/22 Page 3 of 3




                                              DAVIS, CEDILLO & MENDOZA, INC.
                                              McCombs Plaza
                                              755 E. Mulberry Avenue, Suite 500
                                              San Antonio, Texas 78212
                                              Telephone: (210) 822-6666
                                              Facsimile: (210) 660-3795

                                              By:    /s/Ricardo G. Cedillo                ________
                                                     RICARDO G. CEDILLO
                                                     Texas State Bar No. 04043600
                                                     rcedillo@lawdcm.com
                                                     BRANDY C. PEERY
                                                     Texas State Bar No. 24057666
                                                     bpeery@lawdcm.com

                                              ATTORNEYS FOR DEFENDANT/COUNTER-
                                              PLAINTIFF, DR. SANDRA GUERRA

                                CERTIFICATE OF SERVICE

        I certify that on this 18th day of August 2022, a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
electronic notification of such filing to the parties on record.


                                                  /s/Tor Ekeland
                                                 TOR EKELAND

                                                  /s/Ricardo G. Cedillo
                                                 RICARDO G. CEDILLO




JOINT ADVISORY TO THE COURT                                                             PAGE 3 OF 3
